

Matter of Spinelli (2021 NY Slip Op 04184)





Matter of Spinelli


2021 NY Slip Op 04184


Decided on July 1, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 1, 2021

PM-95-21
[*1]In the Matter of Lindsey Ann Spinelli, an Attorney. (Attorney Registration No. 5089420.)

Calendar Date:June 28, 2021

Before:Garry, P.J., Lynch, Aarons, Pritzker and Colangelo, JJ.

Lindsey Ann Spinelli, Canton, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Lindsey Ann Spinelli was admitted to practice by this Court in 2013 and lists a business address in Boston, Massachusetts with the Office of Court Administration. Spinelli now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Spinelli's application.
Upon reading Spinelli's affidavit sworn to April 29, 2021 and filed May 3, 2021, and upon reading the June 17, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Spinelli is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Lindsey Ann Spinelli's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Lindsey Ann Spinelli's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Lindsey Ann Spinelli is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Spinelli is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Lindsey Ann Spinelli shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








